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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:23-cv-03088-NYW-KAS


  RIKKI MCALISTER, individually and on behalf of all
  similarly situated persons,

  Plaintiff,

  v.

  LGI HOMES CORPORATE, LLC,

  Defendant.



                                  Declaration of Melinda Malyuk


            I, Melinda Malyuk, declare the following:

            1.      I am a citizen and resident of the State of Ohio.

            2.      I am over the age of eighteen (18) years old and competently make this

  Declaration.

            3.      I am a paralegal for Fisher & Phillips LLP – the law firm representing

  Defendant LGI Homes Corporate, LLC (“LGI Homes”) in the above-captioned litigation.

            4.      In this role, I regularly handle and process data to create databases of

  processed data.

       I.        Collection of data for phone record analysis.

            5.      Plaintiff Rikki McAlister’s (“Plaintiff”) phone records from May 23, 2017




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  through February 28, 2023 were produced by Verizon, subject to a subpoena. [Ex. 241,

  VERIZON 000001-001195]

            6.       The phone records included the following data: phone call date; phone call

  time; phone number; call duration. [Id.]

            7.       LGI Homes provided Plaintiff’s Performance Tracking System (“PTS”) data

  from January 1, 2017 through February 28, 2023. [Ex. 11, Performance Tracking

  System Reports, LGI Homes 01128 – 01379]

            8.       The PTS data included the phone numbers of LGI Homes customers and

  potential customers that Plaintiff called, took on home tours, and closed homes. [Id.]

            9.       Plaintiff produced copies of her desk calendars from 2017 through 2023.

  [Ex. 23, MCALISTER_Bates0155-0546]

            10.      The desk calendars include entries for days and hours Plaintiff worked for

  LGI Homes from 2017 through 2023. [Id.]

            11.      LGI Homes produced several schedules from Second Farm Homes, a LGI

  Homes community where Plaintiff sold homes. [Ex. 21, LGI HOMES 01381 – 01390]

            12.      The schedules list dates and times when Plaintiff was scheduled to work for

  the company. [Id.]

      II.         Entry of Data for Phone Record Analysis.

            13.      I converted the Verizon phone records from searchable pdf to excel

  spreadsheet.

            14.      I exported the LGI Homes customer phone numbers from the PTS records




  1
   References to exhibits in this declaration refer to exhibits cited in Defendant LGI Homes
  Corporate, LLC’s Motion for Summary Judgment Pursuant to Fed. R. Civ. P. 56.


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  to the excel spreadsheet and cross-referenced the PTS phone numbers against the

  phone numbers pulled from Verizon.

             15.     I entered the dates and hours Plaintiff worked for LGI Homes from the desk

  calendars into the excel spreadsheet.

             16.     I entered the dates and times that Plaintiff was scheduled to work from LGI

  Homes’ calendars into the excel spreadsheet.

             17.     Deposition testimony and documentary evidence indicated that Plaintiff

  worked on Thursdays, Saturdays, and Sundays for LGI Homes. [Ex. 2 Pl.’s Dep. Tr.

  127:21; Ex. 23, MCALISTER_Bates0155-0546]. Where the parties did not produce

  information on the hours Plaintiff worked on Thursdays, Saturdays, or Sundays, I

  assumed that Plaintiff worked from 8:30 am until 8 pm and entered those assumed dates

  and times into the excel spreadsheet.

      III.         Results of Phone Record Analysis.

             18.     From the collected data, I was able to cull work calls (involving phone

  numbers contained in the PTS data) from the phone records to determine phone calls

  that were likely personal phone calls.

             19.     Additionally, based on the collected data (Plaintiff’s desk calendars, LGI

  Homes’ schedules, and assumed work on Thursdays, Saturdays, and Sundays), I limited

  the call data to days and times that Plaintiff likely worked for LGI Homes.

             20.     I was able to determine the phone numbers that Plaintiff most frequently

  contacted while allegedly working for LGI Homes.

             21.     Plaintiff identified the owners of 21 of the phone numbers during her

  deposition.




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          22.     From Plaintiff’s deposition testimony, I was able to cull the phone numbers

  that Plaintiff frequently interacted with for work and identify 16 phone numbers that were

  strictly for personal phone calls.

          23.     Plaintiff collectively interacted with those 16 phone numbers for a grand total

  of 75,064 minutes during shifts worked for LGI Homes.

          I declare, pursuant to 28 U.S.C. § 1746 under penalty of perjury, that the foregoing

  is true, accurate, and correct.

          Executed on August 5, 2024 in Cleveland, Ohio.


                                                     /s/ Melinda Malyuk____________
                                                     Melinda Malyuk




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